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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                   No. 6:21-CR-60003

TYRONE HARRIS                                                                     DEFENDANT

                                   OPINION AND ORDER

       The Court has received a report and recommendation (Doc. 25) from Chief United States

Magistrate Judge Mark E. Ford. No objections were filed and the deadline to object has passed.

This matter was referred to the Magistrate for purposes of conducting a competency hearing under

18 U.S.C. § 4241. The Magistrate recommends that the Court find Defendant Tyrone Harris is

presently suffering from a mental disease or defect rendering him mentally incompetent to the

extent that he is unable to understand the nature and consequences of the proceedings against him

or to assist properly in his defense, and order that Defendant be committed to the custody of the

Attorney General under § 4241(d). Though there have been no objections, the Court has conducted

de novo review of the record available to it. Due to the ongoing COVID-19 pandemic, the

competency hearing before the Magistrate was conducted via zoom, and the Court’s review

included an audiovisual recording of that hearing.

       The Court agrees entirely with the Magistrate’s findings of fact and characterization of

Defendant’s demeanor during the hearing and also with the Magistrate’s application of law to those

facts. The report and recommendation (Doc. 25) is ADOPTED IN FULL.

       Having reviewed the record de novo, however, the Court will exceed the recommendation

and also order preparation of a report under 18 U.S.C. § 4247(c) not only opining whether

Defendant is capable of understanding the nature and consequences of the proceedings against him



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or of assisting properly in his defense, but also opining whether Defendant was insane at the time

of the offense charged, and whether he is suffering from a mental disease or defect as a result of

which his release would create a substantial risk of bodily injury to another person or serious

damage to property of another.

        At the hearing before the Magistrate Judge, the Government’s expert witness Dr.

Szyhowski testified that Defendant, who is diagnosed as schizophrenic, likely would benefit from

specialized rehabilitation services for the purpose of competency restoration. He testified that part

of this competency restoration likely would require medication, but Defendant has consistently

communicated that he is opposed to forced medication and has refused all treatment efforts. Dr.

Szyhowski opined that Defendant does not recognize or have insight into his mental illness and

testified this lack of insight “speaks to . . . the sustainability of treatment if he wanders outside of

supervised treatment.” Dr. Szyhowski also testified that he believes the acute phase of Defendant’s

mental illness has persisted continuously (but for brief moments of lucidity) since 2018.

        Though medication and treatment may assist in returning Defendant to competency, on this

record it is likely the Government will have to move for an order to forcibly medicate Defendant

if the Government wishes to return him to competency. To do so, the Government will have to

satisfy the Sell factors. 1 In satisfying those factors, the Government will be required to show that

“‘important governmental interests are at stake’ and that the ‘special circumstances’ of a given

case do not sufficiently offset those interests.” United States v. Nicklas, 623 F.3d 1175, 1181 (8th

Cir. 2010) (Melloy, J., concurring in part and dissenting in part) (quoting Sell, 539 U.S. at 180).

        “[A] prior adjudication of mental incompetency gives rise to a rebuttable presumption of

continued incompetency . . . . Such rebuttable presumption is a rule of evidence which has the



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            Sell v. United States, 539 U.S. 166, 180–81 (2003).
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effect of overcoming the legal presumption of sanity and mental capacity to commit the crime

charged.” Hurt v. United States, 327 F.2d 978, 981 (8th Cir. 1964). Dr. Szyhowski’s report

recognizes that Defendant was previously determined incompetent in a different case in 2017.

(Doc. 17, p. 3) (noting Defendant “was ultimately restored to appropriate competency related

functioning”). This previous restoration to competency may support Dr. Szyhowski’s opinion that

Defendant could again be restored to competency. When considered in light of Dr. Szyhowski’s

concern that reversion to incompetency has occurred due to Defendant’s “wander[ing] outside of

supervised treatment,” however, this previous determination of incompetency emphasizes the

presumption that Defendant was insane at the time of the offense charged.

       Because the Court foresees a motion from the Government to forcibly medicate Defendant,

and because of the presumption, supported by the Government’s expert testimony in this case, that

Defendant was also incompetent at the time of the offense, “special circumstances” are more

clearly present here than in Nicklas.      To support any argument under Sell that important

Government interests are at stake, it will be necessary for the Government to rebut the presumption

that Defendant was insane when he committed the instant offense. Therefore, any evaluation

intended to determine whether Defendant can be made competent to understand these proceedings

and assist in his own defense should also result in an examination for the purpose of opining

whether Defendant was insane at the time of the offense charged.

       IT IS THEREFORE ORDERED pursuant to 18 U.S.C. § 4241(d) that Defendant Tyrone

Harris is committed to the custody of the Attorney General for a reasonable period as is necessary

to determine whether there is a substantial probability that in the foreseeable future Defendant will

attain the capacity to permit these proceedings to go forward and for an additional reasonable

period of time as allowed by 18 U.S.C. § 4241(d)(2).



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       IT IS FURTHER ORDERED pursuant to 18 U.S.C. § 4242(a) that a psychiatric or

psychological examination of Defendant Tyrone Harris be conducted and a report filed pursuant

to 18 U.S.C. § 4247(b) and (c).

       IT IS SO ORDERED this 12th day of November, 2021.


                                                         /s/P. K. Holmes, ΙΙΙ
                                                         P.K. HOLMES, III
                                                         U.S. DISTRICT JUDGE




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